From dismissal of judgment creditor's bill plaintiff has appealed.
The facts will be implied from statement of the question which is: May a creditor of the husband alone have right by appropriate process to seize rents and income of entireties property? The answer is "No," on the authority of AmericanState Trust Co. v. Rosenthal, 255 Mich. 157, in which earlier decisions are discussed.
The facts do not make a case where the husband has placed funds or property in an entireties estate in fraud of his creditors, so Morse v. Roach, 229 Mich. 538; Lemerise v.Robinson, 241 Mich. 528, and like cases are not in point.
Affirmed, with costs.
McDONALD, C.J., and POTTER, SHARPE, NORTH, FEAD, WIEST, and BUTZEL, JJ., concurred. *Page 73 